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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :       Case No. 1:21-cr-00347 (TNM)
        v.                                    :
                                              :
ROBERT LEE PETROSH,                           :
                                              :
                Defendant.                    :

                    GOVERNMENT’S SENTENCING MEMORANDUM

        The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this sentencing memorandum in connection with

the above-captioned matter. For the reasons set forth herein, the government requests that this

Court sentence Robert Lee Petrosh (“Petrosh”) to 120 days’ imprisonment, one year of supervised

release, 60 hours of community service, and $938 in restitution.

   I.        Introduction

        The defendant, Robert Lee Petrosh, a former Marine, participated in the January 6, 2021

attack on the United States Capitol—a violent attack that forced an interruption of the certification

of the 2020 Electoral College vote count, threatened the peaceful transfer of power after the 2020

Presidential election, injured more than one hundred law enforcement officers, and resulted in

more than one million dollars’ of property damage.

        On January 7, 2022, Petrosh pleaded guilty to one misdemeanor count of violating 18

U.S.C. § 641: Theft of Government Property. As explained herein, a sentence of 120 days’

imprisonment is appropriate in this case because: (1) unlike most misdemeanor defendants, the

defendant stole property from the United States Capitol—namely, two microphones from Speaker

Pelosi’s lectern—rendering him among the more culpable misdemeanor defendants arising out of



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the January 6 riot; (2) the defendant deliberately positioned himself at the front of a standoff

between rioters and U.S. Capitol Police (“USCP”) officers inside the Crypt, and had to be warned

by another rioter not to brush up against the USCP officers; (3) the defendant celebrated as rioters

broke through the police line inside the Crypt; (4) the defendant told one of the vastly outnumbered

officers in the Crypt, who was staring down an angry mob of rioters, to “Give us Nancy”: (5) the

defendant was at the front of a pack of rioters who pursued law enforcement down a hallway and

into the Hall of Columns; (6) instead of exiting the building through the Hall of Columns after

witnessing the clash between rioters and USCP officers inside the Crypt, the defendant decided to

turn back around and rejoin the fray inside the building; (7) the defendant smoked a cigarette inside

the Rotunda, one of the most hallowed rooms inside the Capitol; (8) the defendant ignored several

red flags upon entering the Capitol building, including the sounds of Viking horns and exploding

munitions, rioters shouting “f***ing traitors” on the west lawn, USCP officers clad in full riot gear

stationed outside the Senate Parliamentarian door, rioters suffering the effects of tear gas, and

shattered glass on the ground outside the Senate Wing door; (9) the defendant minimized his

participation in the breach of the police line inside the Crypt in his interviews with the FBI; (10)

the defendant told the FBI during a post-plea debrief that he believed that members of Congress

were “lucky that’s all that happened”; and (11) to this day, the defendant does not regret storming

the U.S. Capitol on January 6, 2021. To the contrary, the defendant believes that he and his fellow

rioters were justified in entering the U.S. Capitol, and that any show of force short of using firearms

would have been justified.

       The Court must also consider that the defendant’s conduct on January 6, like the conduct

of scores of other defendants, took place in the context of a large and violent riot that relied on

numbers to overwhelm law enforcement, breach the Capitol, and disrupt the proceedings. But for



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Petrosh’s actions and those of his fellow rioters, the riot likely would have failed. Here, his

participation in a riot that actually succeeded in halting the Congressional certification combined

with his lack of remorse for having participated in the riot renders a 120-day jail sentence both

necessary and appropriate in this case.

   II.      Factual and Procedural Background

                            The January 6, 2021 Attack on the Capitol

         To avoid exposition, the government refers to the general summary of the attack on the

U.S. Capitol. See ECF No. 33 (Statement of Offense), ¶¶ 1-7. As this Court knows, a riot cannot

occur without rioters, and each rioter’s actions – from the most mundane to the most violent –

contributed, directly and indirectly, to the violence and destruction of that day. With that backdrop

we turn to the defendant’s conduct and behavior on January 6.

                    Petrosh’s Role in the January 6, 2021 Attack on the Capitol

         At approximately 5:00 a.m. on January 6, 2021, Petrosh and a friend drove from New

Jersey, to Rockville, Maryland, and caught the subway into Washington D.C. Petrosh attended

the rally at the Ellipse and stayed through the conclusion of former President Trump’s speech.

During the rally, he noticed thousands of people leaving the rally before former President Trump

finished speaking. During an April 28, 2021 interview with the FBI, Petrosh said he thought it

was “weird” that “just fifteen minutes before . . . thousands and thousands of people just start

peeling off and going already before he even got done talking.” This mass, coordinated, early

exodus from the rally led Petrosh to believe that at least “fifty percent” of the riot had been

coordinated in advance.

         After the conclusion of former President Trump’s speech, Petrosh walked from the Ellipse

to the west front of the Capitol building, where he could hear Viking horns, flashbangs, and drums.



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He saw rioters scaling the white scaffolding that had been erected over the northwest staircase.

Petrosh stood with the crowd on the west lawn as they shouted “f***ing traitors” at law

enforcement. 1 See Exhibit 1. 2

          Petrosh walked underneath the scaffolding, ascended the stairs to the Upper West Terrace,

and began walking toward the Senate Wing Door. On his way, he could see other rioters on the

Upper West Terrace suffering the effects of tear gas. He also passed by four U.S. Capitol Police

(“USCP”) officers, clad head-to-toe in black riot gear, standing guard outside the Senate

Parliamentarian Door. See Exhibit 2.




    Figure 1: Screenshot from a video on Petrosh’s phone showing him walking past U.S. Capitol Police officers en
                                           route to the Senate Wing door.


1
  It is not clear from the video on Petrosh’s phone whether he personally shouted “f***ing
traitors,” or whether it was the rioters standing beside him.
2
    All exhibits will be provided to the Court in advance of sentencing.
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       All of these red flags told Petrosh to turn back. But he did not. Instead, Petrosh entered

the Senate Wing door at 2:21 p.m., just eight minutes after rioters wielding weapons and stolen

riot shields shattered the windows and climbed inside the building. Petrosh recalls seeing broken

glass and shattered windows upon entering the building.

       Petrosh then made his way to the Crypt, where he participated in a standoff with USCP

officers. In interviews with the FBI, the defendant minimized his conduct inside the Crypt,

claiming that he saw only five USCP officers inside the Crypt, that he never pushed or shoved any

officers, and that he only “joked” to one of the officers to “Give us Nancy.” The defendant also

tried to portray himself as a victim of the violence inside the Crypt, claiming that he “honestly

thought [he] was going to die” from being crushed by the crowd. Indeed, he repeatedly invoked

the “Battle of the Bastards” scene from Game of Thrones—where Jon Snow is nearly crushed to

death by the surrounding Bolton army—to describe the scene inside the Crypt on January 6.

       What Petrosh failed to mention, however, is that he deliberately positioned himself at the

front of the standoff with USCP officers inside the Crypt. See Exhibit 3. In fact, open-source

video shows that Petrosh had to be warned by another rioter to stop brushing up against the USCP

officers in the Crypt. See id. Further, and as depicted in the same open-source video, as rioters

broke through the USCP line, the defendant pumped his fist in the air and sped toward the front of

the pack. Id.




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          Figure 2: Petrosh pumping his fist as rioters break through the police line inside the Crypt.

       Petrosh remained at the front of the pack as he continued pursuing USCP officers down a

hallway toward the Hall of Columns. See Figure 3.




        Figure 3: Petrosh pursuing officers down a hallway after breaching the police line in the Crypt.




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           When Petrosh entered the Hall of Columns, he was once again at the front of the pack of

rioters.




                      Figure 4: Petrosh leading a pack of rioters inside the Hall of Columns.

Once Petrosh realized that he had reached an exit, he turned around, walked down and back one

of the hallways perpendicular to the Hall of Columns, then walked north through the Hall of

Columns and back towards the Crypt. Petrosh then ascended the staircase to the Rotunda. Inside

the Rotunda, Petrosh smoked a cigarette. See Figure 5.




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                        Figure 5: Petrosh smoking a cigarette inside the Rotunda.

       According to Petrosh, he briefly left the Rotunda to use the restroom. There, he claims he

saw another rioter wearing a stolen necktie, which inspired him to steal his own “souvenir” from

the Capitol building. When Petrosh returned to the Rotunda from the restroom, he promptly

walked up to Speaker of the House Nancy Pelosi’s lectern in the center of the Rotunda and stole

one of the microphones from the lectern. 3 See Figure 6. He briefly walked away, only to return

to steal a second microphone from the lectern. See Figure 7.




3
 The lectern had been moved to the center of the Rotunda by fellow rioter Adam Johnson. See
United States v. Adam Johnson, 1:21-cr-00648 (RBW), ECF No. 49, at 8. Johnson was recently
sentenced to 75 days’ imprisonment, a one-year term of supervised release, 200 hours of
community service, a $5,000 fine, and $500 in restitution for violating 18 U.S.C. § 1752(a)(1).
Id. ECF No. 58.
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      Figure 6: Petrosh steals the first microphone from Speaker Pelosi’s lectern.




      Figure 7: Petrosh steals the second microphone from Speaker Pelosi’s lectern.



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         Petrosh eventually sat down on one of the benches inside the Rotunda and appeared to take

a phone call. Only after being approached by an officer did Petrosh stand up from the bench and

leave the Rotunda. Petrosh eventually exited the Capitol through the East Rotunda doors at 2:51

p.m. He spent a total of approximately thirty minutes inside the U.S. Capitol. After exiting the

building, he stood outside on the east front of the Capitol and observed the crowd of rioters singing

the national anthem, banging drums, and blowing Viking horns. See Figure 8.




         Figure 8. Photograph from Petrosh’s phone showing rioters on the east front of the U.S. Capitol.

         When Petrosh left the Capitol, he reconnected with his friend and caught the subway back

to Rockville, Maryland at approximately 5:00 p.m.

         Following the riot, Petrosh texted several friends that storming the Capitol was one of the

craziest things he’d ever done, and he even bragged that he had “f***ed up their house.” On

January 9, 2021, he texted one of his friends, “Got your souvenir . . . Microphone from congress

hall.”



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                          Robert Petrosh’s Statements to Law Enforcement

          Petrosh has twice been interviewed by law enforcement in connection with this case.

Petrosh first provided a voluntary, recorded interview while FBI was executing a search warrant

at his residence on April 28, 2021. Petrosh told the FBI that when he left the Capitol Building, he

“didn’t think it was that big of a deal . . . I mean they [Congress] are lucky that’s all that happened.

I mean they cheated on a f***ing election. I mean, whether you believe it or not, they did, you

know they did deep down. I mean, you can’t do that. . . . You think that you, you know, maybe

like you’re helping I guess.”

          When asked about his time inside the Capitol, Petrosh spoke extensively about his

experience inside the Crypt. While his description of the chaos inside the Crypt was fairly

accurate, he failed to mention that he had positioned himself at the front of the pack of the rioters

and that he cheered as rioters pushed past the police line. He also insisted that he did not personally

witness any violence against law enforcement that day, even though open-source footage shows

that he witnessed a group of rioters physically break through the police line and crush USCP

officers at one of the entrances to the Crypt.

          When asked whether he brought any weapons with him to the Capitol on January 6, Petrosh

claimed he did not, but said, “maybe if I did, like had mace or something like that, I would have

brought it cause of ANTIFA and that’s who I thought was going to happen.”

          Finally, Petrosh repeatedly voiced his belief that the 2020 Presidential Election was

“stolen.” He expressed frustration at the lack of any investigation into the “stolen” election, and

claimed that the “stolen” election is “what fueled a lot of people.” Petrosh insisted that after what

happened with the 2020 Presidential Election, he would “never vote again” because his “vote don’t

count.”



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          After entering his guilty plea, Petrosh participated in a proffer with law enforcement on

February 14, 2022. Petrosh reiterated his beliefs about the illegitimacy of the 2020 Presidential

Election, and at some point suggested that the U.S. Capitol Building was “not a Capitol at all.”

When asked whether he personally regretted participating in the January 6 riot, Petrosh replied

that he did not do anything wrong by entering the U.S. Capitol. He also believed that the other

rioters were justified in entering the U.S. Capitol, and would have only crossed the line had they

used firearms. Finally, Petrosh confirmed that he still has the stolen microphones at his home.

                                   The Charges and Plea Agreement

          On May 4, 2021, Petrosh was charged by complaint with violating 18 U.S.C. §§ 1752(a)(1)

and 40 U.S.C. §§ 5104(e)(2). ECF No. 1. He was arrested on May 4, 2021. ECF No. 9. On May

7, 2021, Petrosh was charged by a four-count Information with 18 U.S.C. §§ 1752(a)(1) and (2)

and 40 U.S.C. §§ 5104(e)(2)(D) and (G). ECF No. 6. A Superseding Information was filed on

December 8, 2021, charging Petrosh with one additional count: misdemeanor theft of government

property, in violation of 18 U.S.C. § 641. ECF No. 27. On January 7, 2022, Petrosh pleaded guilty

to Count Five of the Superseding Information, charging him with a violation of 18 U.S.C. § 641:

Theft of Government Property. By plea agreement, Petrosh agreed to pay $938 in restitution to

the Architect of the Capitol, which covers the cost of the stolen microphones.

   III.      Statutory Penalties

          Petrosh now faces sentencing on a single count of violating 18 U.S.C. § 641. As noted in

the plea agreement and by the U.S. Probation Office, Petrosh faces up to one year of

imprisonment and a fine of up to $100,000. He must also pay $938 in restitution under the terms

of his plea agreement. See 18 U.S.C. § 3663(a)(3); United States v. Anderson, 545 F.3d 1072,

1078-79 (D.C. Cir. 2008).



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        As the Supreme Court has instructed, the Court “should begin all sentencing proceedings

by correctly calculating the applicable Guidelines range.” United States v. Gall, 552 U.S. 38, 49

(2007). “As a matter of administration and to secure nationwide consistency, the Guidelines

should be the starting point and the initial benchmark” for determining a defendant’s sentence.

Id. at 49.

        The government agrees with the Probation Office’s calculation of the applicable

Sentencing Guidelines range:

        Base Offense Level (U.S.S.G. §2B1.1(a)(2))                                     6
        Acceptance of Responsibility (USSG §3E1.1(a))                                 -2
        Total Adjusted Offense Level                                                   4

See Final Presentence Investigation Report (“PSR”), ECF No. 37, ¶ 9.

        The U.S. Probation Office calculated Petrosh’s criminal history as category I, which is

not disputed. PSR ¶ 41. Accordingly, the U.S. Probation Office calculated Petrosh’s total

adjusted offense level, after acceptance, at 4, and his corresponding Guidelines imprisonment

range at 0-6 months. PSR ¶¶ 30-38; 88. Petrosh’s plea agreement contains an agreed-upon

Guidelines calculation that mirrors the U.S. Probation Office’s calculation. ECF No. 32, ¶ 5.

        “The Guidelines as written reflect the fact that the Sentencing Commission examined tens

of thousands of sentences and worked with the help of many others in the law enforcement

community over a long period of time in an effort to fulfill [its] statutory mandate.” Rita v.

United States, 551 U.S. 338, 349 (2007). As required by Congress, the Commission has

“‘modif[ied] and adjust[ed] past practice in the interests of greater rationality, avoiding

inconsistency, complying with congressional instructions, and the like.’” Kimbrough v. United

States, 552 U.S. 85, 96 (2007); 28 U.S.C. § 994(m). In so doing, the Commission “has the

capacity courts lack to ‘base its determinations on empirical data and national experience, guided



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by professional staff with appropriate expertise,’” and “to formulate and constantly refine

national sentencing standards.” Kimbrough, 552 U.S. at 108. Accordingly, courts must give

“respectful consideration to the Guidelines.” Id. at 101. As the Third Circuit has stressed:

               The Sentencing Guidelines are based on the United States
               Sentencing Commission’s in-depth research into prior sentences,
               presentence investigations, probation and parole office statistics,
               and other data. U.S.S.G. §1A1.1, intro, comment 3. More
               importantly, the Guidelines reflect Congress’s determination of
               potential punishments, as set forth in statutes, and Congress’s
               on-going approval of Guidelines sentencing, through oversight of
               the Guidelines revision process. See 28 U.S.C. § 994(p)
               (providing for Congressional oversight of amendments to the
               Guidelines). Because the Guidelines reflect the collected wisdom
               of various institutions, they deserve careful consideration in each
               case. Because they have been produced at Congress's direction,
               they cannot be ignored.

United States v. Goff, 501 F.3d 250, 257 (3d Cir. 2005). “[W]here judge and Commission both

determine that the Guidelines sentences is an appropriate sentence for the case at hand, that

sentence likely reflects the § 3553(a) factors (including its ‘not greater than necessary’

requirement),” and that significantly increases the likelihood that the sentence is a reasonable

one.” Rita, 551 U.S. at 347 (emphasis in original). In other words, “the Commission’s

recommendation of a sentencing range will ‘reflect a rough approximation of sentences that

might achieve § 3553(a)’s objectives.’” Kimbrough, 552 U.S. at 89.

       Here, while the Court must balance all of the § 3553 factors to fashion a just and

appropriate sentence, the Guidelines unquestionably provide the most helpful benchmark. As

this Court knows, the government has charged a considerable number of persons with crimes

based on the January 6 riot. This includes hundreds of felonies and misdemeanors that will be

subjected to Guidelines analysis. In order to reflect Congress’s will—the same Congress that




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served as a backdrop to this criminal incursion—the Guidelines will be a powerful driver of

consistency and fairness moving forward.

   IV.      Sentencing Factors Under 18 U.S.C. § 3553(a)

         In this Class A misdemeanor case, sentencing is also guided by 18 U.S.C. § 3553(a), which

identifies the factors a court must consider in formulating the sentence. Some of those factors

include: the nature and circumstances of the offense, § 3553(a)(1); the history and characteristics

of the defendant, id.; the need for the sentence to reflect the seriousness of the offense and promote

respect for the law, § 3553(a)(2)(A); the need for the sentence to afford adequate deterrence,

§ 3553(a)(2)(B); and the need to avoid unwarranted sentence disparities among defendants with

similar records who have been found guilty of similar conduct, § 3553(a)(6). In this case, as

described below, the Section 3553(a) factors weigh in favor of the government’s proposed

sentence of 120-day term of incarceration.

            A. The Nature and Circumstances of the Offense

         The attack on the U.S. Capitol, on January 6, 2021 is a criminal offense unparalleled in

American history. It represented a grave threat to our democratic norms; indeed, it was the one of

the only times in our history when the building was literally occupied by hostile participants. By

its very nature, the attack defies comparison to other events.

         While each defendant should be sentenced based on his individual conduct, as we now

discuss, this Court should note that each person who entered the Capitol on January 6 without

authorization did so under the most extreme of circumstances. As rioters entered the Capitol, they

would—at a minimum—have crossed through numerous barriers and barricades and heard the

throes of a mob. Depending on the timing and location of their approach, they also may have




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observed extensive fighting with law enforcement officials and smelled chemical irritants in the

air. No rioter was a mere tourist that day.

       Additionally, while looking at Petrosh’s individual conduct, we must assess such conduct

on a spectrum. This Court, in determining a fair and just sentence on this spectrum, should look

to a number of critical factors, to include: (1) whether, when, and how the defendant entered the

Capitol building; (2) whether the defendant encouraged violence; (3) whether the defendant

encouraged property destruction; (4) the defendant’s reaction to acts of violence or destruction;

(5) whether during or after the riot, the defendant destroyed evidence; (6) the length of the

defendant’s time inside of the building, and exactly where the defendant traveled; (7) the

defendant’s statements in person or on social media; (8) whether the defendant cooperated with,

or ignored commands from law enforcement officials; and (9) whether the defendant demonstrated

sincere remorse or contrition. While these factors are not exhaustive nor dispositive, they help to

place each defendant on a spectrum as to their fair and just punishment.

       To be clear, had Petrosh personally engaged in violence or destruction, he would be facing

additional charges and/or penalties associated with that conduct. The absence of violent or

destructive acts on Petrosh’s part is therefore not a mitigating factor in misdemeanor cases, nor

does it meaningfully distinguish Petrosh from most other misdemeanor defendants. That said,

having engaged in theft of government property, Petrosh is significantly more culpable than most

misdemeanor defendants charged in the January 6 cases.

       Petrosh encouraged and celebrated the violence of January 6. Not only did he position

himself at the front of the standoff with USCP officers inside the Crypt, but he also raised a fist

and celebrates as rioters violently broke past the police line. The defendant maintains that his

statement to a USCP officer to “Give us Nancy,” was a joke, but as the open-source footage shows,



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any one of the vastly outnumbered officers inside the Crypt likely would not have perceived it as

such.

        It is also not a mere coincidence that the defendant found himself at the front of the pack

of rioters who pursued officers down a hallway and into the Hall of Columns. The open-source

footage from January 6 confirms that Petrosh was an enthusiastic and eager participant, and that

he would have had to muscle his way through a dense and unruly crowd to get to the front of the

crowd. See Exhibit 3.

        Even after experiencing what he described as a near-fatal crush inside the Crypt, the

defendant still had not had enough. Once he realized he had reached an exit, he decided to turn

around and walk back down the Hall of Columns so that he could rejoin the action. The defendant

was not deterred by the violence and danger that he witnessed inside the Crypt; rather, he wanted

more.

        The defendant went on to smoke a cigarette in one of the most hallowed spaces in the

Capitol Building and to steal some “souvenirs” from Speaker Pelosi’s lectern to commemorate the

day. Petrosh did not then, and does not now, regret his participation in the January 6 riot. To the

contrary, Petrosh believes that his actions were justified – that members of Congress got what they

deserved on January 6, and that they should consider themselves “lucky that’s all that happened”

since they “cheated on a f***ing election.”

        Petrosh also ignored his better instincts and training in entering the Capitol Building. As

a former Marine, he should have known better than to enter the building after hearing law

enforcement munitions being set off, after witnessing rioters suffering the effects of tear gas, and

after seeing shattered glass on the ground. Petrosh also understood what danger law enforcement

was in that day; indeed, he compared it to the “Battle of the Bastards” from Game of Thrones. But



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instead of defending law enforcement (or, at the very least, leaving the scene), the defendant had

to be instructed by another rioter to stop brushing up against the officers inside the Crypt.

       While Petrosh does not appear to use social media, his text messages in the aftermath of

January 6 show that he was proud of his conduct inside the Capitol, and that he did not regret his

participation. This same pride for having participated in the January 6 riot was echoed in his

statements to law enforcement, when he insisted that the rioters were justified in taking over the

Capitol building and that members of Congress got what they deserved.

       Accordingly, the nature and the circumstances of this offense establish the clear need for a

significantly deterrent sentence in this matter.

           B. The History and Characteristics of the Defendant

       As set forth in the PSR, Petrosh has no criminal history. PSR ¶¶ 39-45. He served in the

Marines from 1987 to 1991 and rose to the rank of Lance Corporal. Id. ¶ 66. He fought in

Operation Desert Storm and received several awards and medals for his service. Id. Since 1998,

Petrosh has co-owned and operated “Petrosh Big Top,” a party rental business. Id. ¶ 71.

       While Petrosh did not proactively cooperate with the government or turn himself in, he was

generally forthcoming in his interviews with law enforcement. He did, however, minimize his

participation in the breach of the police line inside the Crypt, suggesting to the FBI that he was

more of a victim of the “crush” inside the Crypt rather than an agitator. He also maintained that

he did not personally witness any violence against law enforcement, even though that is

contradicted by the open-source footage from inside the Crypt. See Exhibit 3. Moreover, he did

not express any remorse for participating in the riot on January 6. To the contrary, he still believes

that he and the other rioters acted justly in storming the Capitol, and that Congress was “lucky




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that’s all that happened.” The defendant’s failure to appreciate the wrongfulness of his actions

warrants a significant sentence in this case.

            C. The Need for the Sentence Imposed to Reflect the Seriousness of the Offense
               and Promote Respect for the Law

         The attack on the U.S. Capitol building and grounds was an attack on the rule of law. “The

violence and destruction of property at the U.S. Capitol on January 6 showed a blatant and

appalling disregard for our institutions of government and the orderly administration of the

democratic process.” 4 As with the nature and circumstances of the offense, this factor supports a

sentence of incarceration, as it will in most cases, including misdemeanor cases, arising out of the

January 6 riot. See United States v. Joshua Bustle and Jessica Bustle, 21-cr-238-TFH, Tr. 08/24/21

at 3 (“As to probation, I don't think anyone should start off in these cases with any presumption of

probation. I think the presumption should be that these offenses were an attack on our democracy

and that jail time is usually -- should be expected”) (statement of Judge Hogan).

            D. The Need for the Sentence to Afford Adequate Deterrence

         Deterrence encompasses two goals: general deterrence, or the need to deter crime

generally, and specific deterrence, or the need to protect the public from further crimes by this

defendant. 18 U.S.C. § 3553(a)(2)(B-C), United States v. Russell, 600 F.3d 631, 637 (D.C. Cir.

2010).

         General Deterrence

         The demands of general deterrence weigh in favor of incarceration, as they will for nearly

every case arising out of the violent riot at the Capitol. Indeed, general deterrence may be the most



4
 Federal Bureau of Investigation Director Christopher Wray, Statement before the House
Oversight      and      Reform      Committee      (June     15,      2021),   available          at
https://oversight.house.gov/sites/democrats.oversight.house.gov/files/Wray%20
Testimony.pdf
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compelling reason to impose a sentence of incarceration. For the violence at the Capitol on January

6 was cultivated to interfere, and did interfere, with one of the most important democratic processes

we have: the peaceful transfer of power to a newly elected President. As noted by Judge Moss

during sentencing, in United States v. Paul Hodgkins, 21-cr-188-RDM:

       [D]emocracy requires the cooperation of the governed. When a mob is prepared to
       attack the Capitol to prevent our elected officials from both parties from performing
       their constitutional and statutory duty, democracy is in trouble. The damage that
       [the defendant] and others caused that day goes way beyond the several-hour delay
       in the certification. It is a damage that will persist in this country for decades.

Tr. at 69-70. Indeed, the attack on the Capitol means “that it will be harder today than it was seven

months ago for the United States and our diplomats to convince other nations to pursue democracy.

It means that it will be harder for all of us to convince our children and our grandchildren that

democracy stands as the immutable foundation of this nation.” Id. at 70; see United States v.

Thomas Gallagher, 1:21-CR-00041 Tr. 10/13/2021 at 37 (“As other judges on this court have

recognized, democracy requires the cooperation of the citizenry. Protesting in the Capitol, in a

manner that delays the certification of the election, throws our entire system of government into

disarray, and it undermines the stability of our society. Future would-be rioters must be

deterred.”) (statement of Judge Nichols at sentencing).

       The gravity of these offenses demands deterrence. This was not a protest. See United

States v. Paul Hodgkins, 21-cr-188-RDM, Tr. at 46 (“I don’t think that any plausible argument can

be made defending what happened in the Capitol on January 6th as the exercise of First

Amendment rights.”) (statement of Judge Moss). And it is important to convey to future potential

rioters—especially those who intend to improperly influence the democratic process—that their

actions will have consequences. There is possibly no greater factor that this Court must consider.




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       Specific Deterrence

       Petrosh’s conduct and statements, both during and after the riot, demand a sentence that

will deter him from future crimes. Petrosh does not regret participating in the January 6 riot. As

evidenced by statements during his recent post-plea proffer, he still firmly believes that storming

the Capitol was an appropriate response to having an election “stolen.” He does not appreciate the

damage that his and other rioters’ conduct caused—not just to the Capitol Building, but to our

democracy writ large—and his continued belief in the righteousness of his conduct on January 6

raises significant concerns about his willingness to engage in similar conduct again in the future.

A significant sentence in this case will communicate to the defendant that violence, destruction,

and theft are never appropriate responses to lost elections.

       The government acknowledges that the defendant has accepted responsibility by entering

into a plea agreement. On the other hand, his failure to appreciate the collective impact of his and

other rioters’ actions on January 6 and his apparent lack of remorse for having stormed the Capitol

underscore the need for a term of incarceration in this case.

           E. The Need to Avoid Unwarranted Sentencing Disparities

       As the Court is aware, the government has charged hundreds of individuals for their roles

in this one-of-a-kind assault on the Capitol, ranging from unlawful entry misdemeanors, such as

in this case, to assault on law enforcement officers, to conspiracy to corruptly interfere with

Congress. 5 Each offender must be sentenced based on their individual circumstances, but with the

backdrop of the January 6 riot in mind. Moreover, each offender’s case will exist on a spectrum

that ranges from conduct meriting a probationary sentence to crimes necessitating years of


5
  Attached to this supplemental sentencing memorandum is a table providing additional
information about the sentences imposed on other Capitol breach defendants. That table also
shows that the requested sentence here would not result in unwarranted sentencing disparities.

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imprisonment. The misdemeanor defendants will generally fall on the lower end of that spectrum,

but misdemeanor breaches of the Capitol on January 6, 2021 were not minor crimes.                A

probationary sentence should not necessarily become the default. 6 See United States v. Anna

Morgan-Lloyd, 1:21-cr-00164 (RCL), Tr. 6/23/2021 at 19 (the court should not “create the

impression that probation is the automatic outcome here because it’s not going to be’) (statement

of Judge Lamberth).

       The government and the sentencing courts are making meaningful distinctions between

offenders. Those who engaged in felonious conduct are generally more dangerous, and thus,

treated more severely in terms of their conduct and subsequent punishment. Those who trespassed,

but engaged in aggravating factors, merit serious consideration of institutional incarceration.

Those who trespassed, but engaged in less serious aggravating factors, deserve a sentence more in

line with minor incarceration or home detention.

       For one thing, although all the other defendants discussed below participated in the Capitol

breach on January 6, 2021, many salient differences—such as how a defendant entered the Capitol,

how long he remained inside, the nature of any statements he made (on social media or otherwise),

whether he destroyed evidence of his participation in the breach, etc.—help explain the differing



6
  Early in this investigation, the Government made a very limited number of plea offers in
misdemeanor cases that included an agreement to recommend probation in United States v. Anna
Morgan-Lloyd, 1:21-cr-00164(RCL); United States v. Valerie Elaine Ehrke, 1:21-cr-
00097(PFF); United States v. Donna Sue Bissey, 1:21-cr-00165(TSC), United States v. Douglas
K. Wangler, 1:21-cr-00365(DLF), and United States v. Bruce J. Harrison, 1:21-cr-00365(DLF).
The government is abiding by its agreements in those cases, but has made no such agreement in
this case. Cf. United States v. Rosales-Gonzales, 801 F.3d 1177, 1183 (9th Cir. 2015) (no
unwarranted sentencing disparities under 18 U.S.C. § 3553(a)(6) between defendants who plead
guilty under a “fast-track” program and those who do not given the “benefits gained by the
government when defendants plead guilty early in criminal proceedings”) (citation omitted).


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recommendations and sentences.        And as that discussion illustrates, avoiding unwarranted

disparities requires the courts to consider not only a defendant’s “records” and “conduct” but other

relevant sentencing criteria, such as a defendant’s expression of remorse or cooperation with law

enforcement.    See United States v. Hemphill, 514 F.3d 1350, 1365 (D.C. Cir. 2008) (no

unwarranted disparity regarding lower sentence of codefendant who, unlike defendant, pleaded

guilty and cooperated with the government).

       Moreover, assessing disparities, and whether they are unwarranted, requires a sufficient

pool of comparators. In considering disparity, a judge cannot “consider all of the sentences not

yet imposed.” United States v. Godines, 433 F.3d 68, 69–71 (D.C. Cir. 2006). “The most a judge

can do is consider those other sentences that do exist,” and “[t]he comparable sentences will be

much smaller in the early days of any sentencing regime than in the later.” Id.; see generally

United States v. Accardi, 669 F.3d 340, 346 (D.C. Cir. 2012) (“Without more, two allegedly similar

cases constitute too small a sample size to support a finding of an ‘unwarranted disparity’ in

sentences.”). In cases for which the Sentencing Guidelines apply, “[t]he best way to curtail

‘unwarranted’ disparities is to follow the Guidelines, which are designed to treat similar offenses

and offenders similarly.” United States v. Bartlett, 567 F.3d 901, 908 (7th Cir. 2009). See id. (“A

sentence within a Guideline range ‘necessarily’ complies with § 3553(a)(6).”).

       Though no January 6 defendant has yet been sentenced for theft of government property,

the government recently recommended a 120-day term of imprisonment for a defendant who stole

a shard of Speaker Pelosi’s wooden office sign. See United v. William Merry, 1:21-cr-00748

(JEB), ECF No. 41. Defendant William Merry is currently scheduled to be sentenced by Judge




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Boasberg on March 21, 2022. 7 Like William Merry, the defendant also entered the Capitol less

than ten minutes after the Senate Wing windows were shattered, bragged to his friends about his

participation in the January 6 riot, made threatening comments about Nancy Pelosi, deliberately

ignored red flags such as officers deploying munitions and tear gas, was at the front line of rioters

pushing against officers, celebrated rioters overtaking police officers, and failed to express remorse

for having participated in the riot.

        The government has also requested, and the courts have imposed, sentences of

incarceration in cases where defendants smoked marijuana inside the Capitol Building. In United

States v. James Bonet, for example, the government recommended a 45-day term of imprisonment

for a rioter who smoked marijuana inside Senator Merkley’s office. See United States v. James

Bonet, 1:21-cr-00121 (EGS). Judge Sullivan ultimately sentenced James Bonet to 90 days’

imprisonment—twice the government’s recommendation—in part because a television interview

with the defendant on the one-year anniversary of the January 6 riot showed that the defendant

lacked remorse for his actions. Here, too, Petrosh has failed to demonstrate genuine remorse for

his participation in the January 6 riot. While he regrets stealing the microphones from Speaker

Pelosi’s lectern, he believes that his and other rioters’ conduct was justified. In fact, he believes,

that any show of force (short of the use of firearms) would have been justified given how “they

cheated on a f***ing election.”

       Finally, the government has routinely requested, and the courts have often imposed,

sentences of incarceration in cases where defendants were at the front lines of violence with law

enforcement officers. See, e.g., United States v. Frank V. Scavo, 1:21-cr-00254 (RCL) (defendant




7
 On March 17, 2022, defendant William Merry filed a consent motion to continue sentencing to
April 11, 2022.
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sentenced to 60 days’ imprisonment after being at the front of the breach of the East Columbus

doors); United States v. Mark Simon, 1:21-cr-00067 (ABJ) (defendant sentenced to 35 days’

incarceration after participating in the breach of the East Columbus doors); United States v. Russell

James Peterson, 1:21-cr-00309 (ABJ) (defendant sentenced to 30 days’ imprisonment after being

a couple feet away from rioters who violently shoved and pushed officers outside the Capitol

building).

        The goal of minimizing unwarranted sentencing disparities in § 3553(a)(6) is “only one of

several factors that must be weighed and balanced,” and the degree of weight is “firmly committed

to the discretion of the sentencing judge.” United States v. Coppola, 671 F.3d 220, 254 (2d Cir.

2012). The § 3553(a) factors that this Court assesses are “open-ended,” with the result that

“different district courts may have distinct sentencing philosophies and may emphasize and weigh

the individual § 3553(a) factors differently; and every sentencing decision involves its own set of

facts and circumstances regarding the offense and the offender.” United States v. Gardellini, 545

F.3d 1089, 1093 (D.C. Cir. 2008). “[D]ifferent district courts can and will sentence differently—

differently from the Sentencing Guidelines range, differently from the sentence an appellate court

might have imposed, and differently form how other district courts might have sentenced that

defendant.” Id. at 1095.

   V.        Conclusion

        Sentencing requires the Court to carefully balance the § 3553(a) factors. As explained

herein, some of those factors support a sentence of incarceration and some support a more lenient

sentence. Balancing these factors, the government recommends that this Court sentence Robert

Lee Petrosh to 120 days’ imprisonment, one year of supervised release, 60 hours of community

service, and $938 in restitution. Such a sentence protects the community, promotes respect for the



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law, and deters future crime by imposing restrictions on his liberty as a consequence of his

behavior, while recognizing his early acceptance of responsibility.

                                             Respectfully submitted,

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